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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK


   ASSOCIATED INDUSTRIES INSURANCE                     Civ. No. 1:21-cv-03624-LGS
   COMPANY, INC.,

                                          Plaintiff,

                       -against-

   WACHTEL MISSRY LLP and HOWARD
   KLEINHENDLER,
                            Defendants.


 PARTIES JOINT SUBMISSION IN ACCORDANCE WITH THE COURT’S ORDERS
             DATED OCTOBER 6, 2022 AND OCTOBER 11, 2022

        WHEREAS, on October 6, 2022, the Court entered an Order [dkt. 77], in which the Court

ORDERED that the parties’ recent letters [dkts. 68-69, 71, 72, and 84] are construed as cross-

motions for summary judgment on Defendants’ affirmative defenses;

        WHEREAS, the Court further ORDERED that, no later than October 14, 2022, the parties

shall jointly file all communications between Plaintiff and Defendants referenced in the parties’

above-mentioned filings or otherwise pertaining to the resolution of the motions;

        WHERAS, on October 11, 2022, the Court entered a further ORDER [dkt. 80] extending

the deadline for the parties’ joint submission to November 4, 2022;

        NOW, THEREFORE, Plaintiff, Associated Industries Insurance Company, Inc., and

Defendants, Wachtel Missry LLP and Howard Kleinhendler, jointly submit the following materials

in support of their cross-motions for summary judgment:

                 Exhibit No.   Bates No.               Document Date
                 1             AIIC01849-68            8/21/2019
                 2             AIIC01871-72            8/22/2019
                 3             AIIC01874-75            8/22/2019
                 4             AIIC01904-05            9/20/2019

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                 Exhibit No.   Bates No.            Document Date
                 5             AIIC10404-06         12/31/2019
                 6             AIIC11432-37         1/8/2020
                 7             AIIC10131-33         2/7/2020
                 8             AIIC11849-51         2/7/2020
                 9             AIIC08744            2/13/2020
                 10            AIIC09139            2/20/2020
                 11            AIIC06338-39         2/25/2020
                 12            AIIC06346            2/26/2020
                 13            AIIC07577            2/26/2020
                 14            AIIC07331-32         3/1/2020
                 15            AIIC06341-42         3/2/2020
                 16            AIIC06271-72         4/27/2020
                 17            AIIC06210-11         5/21/2020
                 18            AIIC02939            6/8/2020
                 19            AIIC06213-15         6/9/2020
                 20            AIIC11942-44         6/9/2020
                 21            AIIC02582-91         6/19/2020
                 22            AIIC02622-23         6/19/2020
                 23            AIIC00703-13         10/5/2020
                 24            AIIC06377-83         12/11/2020
                 25            AIIC06203-05         1/17/2021
                 26            AIIC06348            2/6/2021
                 27            AIIC08750            2/11/2021
                 28            AIIC01783            2/24/2021
                 29            AIIC03392-99         4/20/2021
                 30            AIIC02628            5/3/2021
                 31            AIIC07256-58         5/6/2021
                 32            AIIC09468-69         9/9/2021
                 33            AIIC12193-200


Dated: November 4, 2022                    Respectfully submitted,


                                                  /s/ Kim Hoyt Sperduto
                                           Kim Hoyt Sperduto
                                           S.D.N.Y. Bar No. KS5048
                                           Peter G. Thompson (pro hac vice)
                                           April H. Gassler (pro hac vice )
                                           SPERDUTO THOMPSON & GASSLER PLC
                                           1050 30th Street, NW
                                           Washington, DC 20007
                                           202-408-8900 (tel)
                                           202-465-8104 (fax)

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                                        ksperduto@stglawdc.com
                                        pthompson@stglawdc.com
                                        agassler@stglawdc.com

                                        Counsel for Plaintiff
                                        Associated Industries Insurance Company


                                               /s/ Jeremy King
                                        Jeremy M. King, Esq.
                                        OLSHAN FROME WOLOSKY LLP
                                        1325 Avenue of the Americas
                                        New York, NY 10019
                                        212-451-2300
                                        Fax: 212-451-2222
                                        jking@olshanlaw.com

                                        Counsel for Defendant
                                        Wachtel Missry LLP


                                               /s/ Howard Kleinhendler
                                        Howard Kleinhendler, Esq.
                                        369 Lexington Avenue
                                        Ste 12th Floor
                                        New York, NY 10017
                                        917-793-1188
                                        Fax: 732-901-0832
                                        howard@kleinhendler.com

                                        Defendant (Pro Se)




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